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 8
 9                            UNITED STATES DISTRICT COURT
10                          SOUTHERN DISTRICT OF CALIFORNIA
11    UNITED STATES OF AMERICA                      )   Case No. 20-MJ-4876-BGS
                                                    )
12                        Plaintiff,                )   NOTICE OF APPEARANCE
                                                    )
13          v.                                      )
                                                    )
14    ROSA MORENO,                                  )
                                                    )
15                        Defendant.                )
                                                    )
16                                                  )
                                                    )
17
18   TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
19         I, the undersigned attorney, enter my appearance as lead counsel for the
20   United States in the above-captioned case. I certify that I am admitted to practice in this
21   court or authorized to practice under CivLR 83.3.c.3-4.
22         The following government attorneys (who are admitted to practice in this court or
23   authorized to practice under CivLR 83.3.c.3-4) are also associated with this case, should
24   be listed as lead counsel for CM/ECF purposes, and should receive all Notices of
25   Electronic Filings relating to activity in this case:
26   //
27   //
28   //
     Case 3:20-mj-04876-BGS Document 4 Filed 11/11/20 PageID.9 Page 2 of 2




 1         Name
 2         Stephen Da Ponte
 3         Effective this date, the following attorneys are no longer associated with this case
 4   and should not receive any further Notices of Electronic Filings relating to activity in
 5   this case (if the generic “U.S. Attorney CR” is still listed as active in this case in
 6   CM/ECF, please terminate this association):
 7         Name
 8         None.
 9         Please feel free to call me if you have any questions about this notice.
10
11         DATED: November 11, 2020.
12                                                 ROBERT S. BREWER, JR.
                                                   United States Attorney
13
                                                   s/Melanie K. Pierson
14
                                                   Melanie K. Pierson
15                                                 Assistant U.S. Attorney
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